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UNITED STA'I'ES DISTRICT COURT "*~< 1.;.;1986
FoR THE DISTRICT oF CoLUMBIACLE,?,<"J_U Dw_m_
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UNITED STATES OF AMERICA, )
)
v. ) Criminal No. 85-00033

) Judge John Garrett Penn
GEORGE A. NADER, )
)
Defendant. )
)

 

DEFENDANT'S OPPOSITION TO
GOVERNMENT'S MOTION TO RECONSIDER

 

The government has asked this Court to reconsider its
dismissal of the indictment against George Nader. The
government's motion cites no new authority and makes no new
argument regarding the scope of 18 U.S.C. §§ l46l and 1462. The
government concedes that United States v. Sidelko, 248 F. Supp.
813 (M.D.Pa. 1964), is "factually very close to the instant case"
and bars this prosecution. The government also concedes the
well-settled rule that "citizens are not to be punished pursuant
to a statute unless the statute plainly imposes such a

punishment." United States v. Campus-Serronno, 404 U.S. 1293,

 

1297 (1971). Yet despite the additional time to review the
legislative history of sections 1461 and 1462 the government
cites nothing to contradict the extensive legislative history
establishing that sections 1461 and 1462 apply to those who place
obscene matter in the mail and not those who receive it. The
government has given the Court no reason to reverse its correct

decision dismissing the indictment.

 

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The majority of the government's memorandum is spent
arguing that the defendant could have been tried as an aider and
abettor under 18 U.S.C. § 2. The government cites a number of
cases in support of the general proposition that a person can be
tried as an aider and abettor even if he is acquitted of

committing the substantive offense. See Busic v. United States,

 

446 U.S. 398 (1980). But the government's argument side-steps
the real issue and never confronts the point; it cannot use 18
U.S.C. § 2 to prosecute a class of persons who Congress has by
its action determined should not be subject to penalty.

The government cannot avoid the proper scope of section
1461 by trying a defendant as an aider and abettor under 18
U.S.C. § 2 because Congress, in passing the mailing statute,
excluded the receiver from the class of offenders. There is a
well-settled exception to aiding and abetting liability where a
crime is so defined that it necessarily involves two or more
people to commit it, but the conduct of only one participant is
made criminal.

The rationale is that the legislature by

specifying the kind of individual who is to be

found guilty when participating in a

transaction necessarily involving one or more

other persons, must not have intended to

include the participation by others in the

offense as a crime. This exception applies

even though the statute was not intended to

protect the other participants.

United States v. Southard, 700 F.2d 1, 20 (1st Cir.), cert.

 

wmu:;?::;ouy denied, 464 U.S. 823 (1983); see generally W. LaFave and A.

”$”mm“°°z®“ Scott, Criminal Law § 65 at 521-22 (1977). As explained in the

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Model Penal Code § 2.06(b): "Unless otherwise provided by the
Code or by the law defining the offense, a person is not an
accomplice in an offense committed by another if: (b) the offense
is so defined that his conduct is inevitably incident to its
commission."

Under this exception, it has been held that "one having
intercourse with a prostitute is not liable as a party to the
crime of prostitution, [Gebardi v. United States, 287 U.S. 112
(1932)], a purchaser is not a party to the crime of illegal sale,
[United States v. Farrar, 281 U.S. 624 (1930)], and an unmarried
man is not guilty as a party to the crime of adultery where the
legislature has only specified punishment for the married
participant." LaFave and Scott, supra at 522. In Farrar, the
Supreme Court held that a purchaser of liquor could not be held
liable for procuring or causing an illegal sale. 281 U.S. at
633-34. The statute in question prohibits the manufacture and
sale of illegal liquor, but said nothing about the purchase. The
Court concluded that Congress "deliberately and designedly
omitted to impose upon the purchaser . . . any criminal

penalty." ld. at 634; see also, United States v. Nasser, 476

 

F.2d 1111, 1120 (7th Cir. 1973) (Client cannot be convicted of
conspiring with attorney to violate statute prohibiting attorney
from handling a case in which he had previously worked as a
government employee).

The holding in Farrar governs this case. As held in

United States v. Sidelko, 248 F. Supp. 813 (M.D.Pa. 1964),

 

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although the mailing of obscene material necessarily involves two
parties -- the sender (distributor) and the receiver (orderer) --
Congress only provided criminal penalties for the person who
deposits such material. This Circuit in Reed Enterprises v.
Corcoran, 354 F.2d 519 (D.C. Cir. 1965), and Reed Enterprises v.
gla£k, 278 F. Supp. 372 (D.D.C. 1967)(three judge Court), aff;d,
390 U.S. 457 (1968)(per curium) has held that when Congress
revisited the statute and amended it there was no intent to alter
its coverage. Perhaps most importantly, the Court need not
attempt to divine by legislative history Congressional intent
regarding those who request or receive obscene material because
the statute does provide criminal penalties -- but only if there
is an intent to distribute the material after receipt. For this
reason the court in Sidelko held that even though section 1461
itself provides penalties for those who "cause" obscene material
to be mailed, that language does not reach one who orders the
material for personal use without any intent to distribute. As
this Court previously recognized, to hold otherwise would render
superfluous the specific statutory language dealing with
recipients. §ee Sidelko, 248 F. Supp. at 815.

The government's attempt to use section 2 merely raises
the same issue again under a different heading. The rule stated
in Farrar and the Model Penal Code makes common sense -- the
government cannot use the general accomplice Statute to override
a specific Congressional decision not to impose criminal

penalties on certain conduct. This rule makes particular sense

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where the "causing" language of the aiding and abetting statute,
18 U.S.C. § (2), appears in the language of section 1461 and has
been specifically held not to be applicable to this conduct.
Nothing cited by the government should cause the Court to alter
its correct ruling on this subject. For these reasons, the

government's motion to reconsider should be denied.

Respectfully submitted,

WILLIAMS & CONNOLLY

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Daviid Povich
Richard S. HoffiM

839 Seventeenth Street, N.W.
Washington, D.C. 20006
(202) 331-5000

Dated: September 11, 1986 ;zd 7`_ C?Ojf

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CERTIFICATE OF SERVICE

 

I hereby certify that a true and correct copy of the
foregoing Defendant's Opposition to Government's Motion to
Reconsider was mailed first-class, postage-prepaid to Ronald
Dixon, Assistant United States Attorney, 555 4th Street, N.W.,

Washington, D.C. 20001 this llth day of September, 1986.

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